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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                      :       4:23-CR-159
                                              :
                    v.                        :       (Chief Judge Brann)
                                              :
JOSHUA TAYLOR                                 :       (Electronically Filed)

                  MOTION SEEKING JUDICIAL APPROVAL
                      FOR DEFENDANT TO TRAVEL

        AND NOW comes the Defendant, Joshua Taylor, by his attorney,

Christopher Opiel, Esq., and files the following Motion Seeking Judicial Approval

for Defendant to Travel to Massachusetts from May 12, 2024 through May 16,

2024. In support thereof, it is averred as follows:

   1.       On June 13, 2023, Joshua Taylor was charged in an Indictment with:

COUNT 1, conspiracy to knowingly, intentionally, and willfully unlawfully

transport, transmit, and transfer in interstate commerce stolen goods, wares and

merchandise, of the value of $5,000 or more, knowing the same to have been

stolen, converted, and taken by fraud in violation of 18 U.S.C. § 371; and COUNT

4, unlawfully transport, transmit, and transfer in interstate commerce stolen goods,

wares and merchandise, of the value of $5,000 or more, knowing the same to have

been stolen, converted, and taken by fraud in violation of 18 U.S.C. §§ 2314 and 2.

(Doc. 1).



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   2.        On June 14, 2023, Defendant was arraigned on the charges, and he

entered a plea of “not guilty”. (Doc. 12).

   3.        On June 14, 2023, Defendant was released from custody under pretrial

supervision and an Order Setting Conditions of Release was filed to the docket.

(Doc. 15).

   4.        Paragraph (7)(f) of the Order Setting Conditions of Release restricts the

Defendant’s travel to the “Middle and Eastern Districts of PA unless otherwise

approved by pretrial services officer”. (Doc. 15).

   5.        Defendant owns his own business in which he engages in the buying and

selling of antiques.

   6.        Defendant is respectfully seeking judicial approval to travel outside the

Middle and Eastern Districts of Pennsylvania in order to attend the Brimfield

Antique Flea Market in Brimfield, Massachusetts from May 12, 2024 through May

16, 2024 for the purpose of his business.

   7.        Defendant will be staying at the Red Roof Plus hotel located at 1254

Riverdale Street, West Springfield, MA 01089; and he will be traveling daily to

Brimfield, MA for the Brimfield Antique Flea Market.

   8.        On June 29, 2023, this Honorable Court entered an Order permitting

Defendant to travel to Brimfield, MA for the Brimfield Antique Flea Market from

July 9, 2023 through July 13, 2023. (Doc. 42).


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   9.      On August 3, 2023, this Honorable Court entered an Order permitting

Defendant to travel to Brimfield, MA for the Brimfield Antique Flea Market from

September 3, 2023 through September 7, 2023. (Doc. 59).

   10.     Defendant complied with all terms and conditions imposed upon him by

the Court and the United States Probation Office when he traveled outside the

Middle and Eastern Districts of Pennsylvania from July 9, 2023 through July 13,

2023 and from September 3, 2023 through September 7, 2023.

   11.     Undersigned Counsel communicated with United States Probation

Officer Jeffrey Reber regarding this motion and Mr. Reber indicated that the

United States Probation Office does not have any objection to the travel

arrangements requested in this motion.

   12.     Undersigned Counsel communicated with Assistant United States

Attorney Sean A. Camoni regarding this motion and AUSA Camoni indicated that

he does not have any objection to the travel arrangements requested in this motion.

           WHEREFORE, the Defendant, Joshua Taylor, respectfully requests that

this Honorable Court grant the within motion and enter an order approving the

travel accommodations as stated within this motion.

                                      Respectfully submitted,

Date: April 26, 2024                  /s/ Christopher Opiel
                                      Christopher Opiel, Esq.

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                           CJA Appointed Counsel
                           Attorney ID# PA318776
                           Opiel Law
                           88 North Franklin Street
                           Wilkes-Barre, Pennsylvania 18701
                           (570) 762-9992 (Office)
                           (570) 417-1436 (Cell)
                           (570) 825-6675 (Fax)
                           Email: cropiel@opiellaw.com




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                           CERTIFICATE OF SERVICE


             I, Christopher Opiel, CJA appointed counsel, do hereby certify that this

document, the foregoing Motion Seeking Judicial Approval for Defendant to

Travel, filed electronically through the ECF system will be sent to the registered

Participants as identified on the Notice of Electronic Filing, including the

following:

                     Sean A. Camoni, Esquire
                     Assistant United States Attorney




Date: April 26, 2024                     /s/ Christopher Opiel
                                         Christopher Opiel, Esq.




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